      Case 23-61742-bem                    Doc 255 Filed 03/20/25 Entered 03/20/25 15:48:55                                                Desc Ch 7
                                              First Mtg Corp No POC Page 1 of 2
Information to identify the case:
Debtor
                ARC Management Group, LLC                                                      EIN 03−0607765
                Name


United States Bankruptcy Court Northern District of Georgia                                    Date case filed in chapter 11                     11/28/23
Court website: www.ganb.uscourts.gov
Case number: 23−61742−bem                                                                      Date case converted to chapter 7                 3/20/25


Official Form 309C (For Corporations or Partnerships)
Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                                                                                           10/20

For the debtor listed above, a case has been filed under chapter 7 of the Bankruptcy Code. An order for relief has been
entered.

This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines.

The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not
take action to collect debts from the debtor or the debtor's property. For example, while the stay is in effect, creditors cannot
sue, assert a deficiency, repossess property, or otherwise try to collect from the debtor. Creditors cannot demand repayment
from debtors by mail, phone, or otherwise. Creditors who violate the stay can be required to pay actual and punitive damages
and attorney's fees.
To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at
the address listed below or through PACER (Public Access to Court Electronic Records at https://pacer.uscourts.gov). Copy
fees or access charges may apply. A free automated response system is available at 866−222−8029 (Georgia Northern). You
must have case number, debtor name, or SSN when calling.

The staff of the bankruptcy clerk's office cannot give legal advice.

Do not file this notice with any proof of claim or other filing in the case.
1. Debtor's full name                      ARC Management Group, LLC

2. All other names used in the
   last 8 years
3. Address                                 1825 Barrett Lakes Blvd., N.W.
                                           Suite 505
                                           Kennesaw, GA 30144

4. Debtor's attorney
                                           Pro Se
     Name and address

5. Bankruptcy trustee                      S. Gregory Hays                                                      Contact phone (404) 926−0060
                                           Hays Financial Consulting, LLC
     Name and address                      Suite 555
                                           2964 Peachtree Road
                                           Atlanta, GA 30305

6. Bankruptcy clerk's office               Vania S. Allen                                                  Office Hours: 8:00 a.m. − 4:00 p.m.
                                           Clerk of Court
     Documents in this case may be
     filed at this address. You may         1340 United States Courthouse                                  Court website: www.ganb.uscourts.gov
     inspect all records filed in this case 75 Ted Turner Drive SW
     at this office or online at            Atlanta, GA 30303                                              Contact phone 404−215−1000
     https://pacer.uscourts.gov.

7. Meeting of creditors                    April 14, 2025 at 08:50 AM                                      Location:
     The debtor's representative must                                                                      Zoom video meeting. Go to Zoom.us/join,
     attend the meeting to be              The meeting may be continued or adjourned to a later            Enter Meeting ID 627 912 5502, and
     questioned under oath. Creditors      date. If so, the date will be on the court docket.              Passcode 6497361809, OR call 1 (470)
     may attend, but are not required to                                                                   924−8876
     do so. Cellular phones and other
     devices with cameras are not                                                                          For additional meeting information go to
     allowed in the building.                                                                              https://www.justice.gov/ust/moc

8. Proof of claim                          No property appears to be available to pay creditors. Therefore, please do not file a proof of claim now.
     Please do not file a proof of         If it later appears that assets are available to pay creditors, the clerk will send you another notice telling you
     claim unless you receive a notice     that you may file a proof of claim and stating the deadline.
     to do so.

9.                                         If you are a creditor receiving a notice mailed to a foreign address, you may file a motion asking the court to
                                           extend the deadlines in this notice. Consult an attorney familiar with United States bankruptcy law if you have
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    Creditors with a foreign          any questions about your rights in this case.
    address
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